Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 1 of 29

EXHIBIT
B

REQUEST FOR COMPASSIONATE RELEASE UNDER THE FIRST STEP ACT WITH MEDICAL ATTACHMENTS
OF HIS WIFE CONDITION OF INCAPACTTATION
Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 2 of 29

“"BP-S148.055 INMATE REQUEST TO STAFF cCDFRM
SEP 98

   

 

 

 

U.S. DEPARTMENT OF JUSTICE . FEDERAL BUREAU OF PRISONS
TO: (Name and Title of Staff Member) DATE:
Mr. Stephea Risen Warden 04/15/2019
FROM: REGISTER NO.:
Jose Naranjo 21431-053
WORK ASSIGNMENT: Rec, Orderly UNIT: k2-114L

 

 

 

 

SUBJECT: (Briefly state your question or concern and the solution you are requesting.
Continue on back, if necessary. Your failure to be specific may result in no action being
taken. If necessary, you will be interviewed in order to successfully respond to your

request.)

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—fy_due_to_my.age— and being that I have served at least.10 years of my _sentence(s), I have
been _in constant incarceration serving 40 years, in accordance to 18 U.S.C. §3582(c)(1) (A)
(ii), states in part:"the defendant is at least 30 years in prison, pursuant to sentence
imposed under section3559(c), the offense or [offenses] for which defendant is currently
imprisoned...." I have been currently incarcerated since 1979 (i.e. Case(s)6:78-00046-01;
79-CR-257(S-1); 82-204-01; CR-83-16-07-G; and, 93-CR-000418-04(TFH) )1] which clearly quali-

fies me for compassionate release. It cannot be said that Mr. Naranjo was released from

incarceration and then a superceding indictment brought him back do to more time. I clearly
have been in constant incarceration serving sentence(s) imposed under §3559(c) for his offen-
ses, which is the basis for the compassionate release at this time and to say otherwise is
to ignore the facts set forth above and the law. For which Jose Naranjo, respectfully re-

 

(continue on attached page) (no not write below this line)

DISPOSITION:

 

Signature Staff Member Date

 

 

Record Copy - File; Copy - Inmate
(This form may be replicated via WP) This form replaces BP-148.070 dated Oct 86

and BP-S148.070 APR 94
&_ ON Rarustad Danes
| to .
Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 3 of 29

. CONTINUATION:
quests to be considered for Compassionate Release Program, 18 U.S.C. §§3582(c)(1)(A)
and 4205(g). Under 18 U.S.C. §3582(c)(1)(A), a sentencing Court, on motion of the
Director of (BOP), may reduce the term of imprisonment of an inmate's sentence under
the comprehensive crime control act of 1984. I believe that there exists extraordina-
ry reasons as to why I should be considered for release under the above program as
well, and thus should be allowed relief based on the reason(s) set forth herein:
FIRST STEP ACT
(1) I am 74 years old, with no history of violence associated with my crime;
(2) I was sentenced to life term, (not death), for my role in a conspiracy to possess
with intent to distribute cocaine, 21 U.S.C. §841(a)(1), 846; ‘
(3) I have been continuosly incarcerated since 1979 on different federal sentenses and
never released;
(4) Due to Circuit and Supreme Court precedent he was unable to obtain a review under
Booker, Apprendi, Alleyne and post Alleyne decision(s) that bars him as well because
those decision(s) were not made retroactive for collateral review and were not availa-
ble to me during my 2255 review;
(5) I have not benefited from any of the changes to the cocaine law, and the new cocai-
ne guidelines under Amendment 782 that have been recently implemented;
(6) I was sentenced for a drug (cocaine powder), of which public perception has chan-
ged , which forced Congress to change the guidelines base level under Amendment 782
that changes drug sentencing table §2D1.1 for all drugs, and Eric Holder's memorandum
to U.S. attorneys across the country not to seek enhancements or life sentences to
people charged with drugs, and the fact that Alleyne held, that "the Sixth Amendment
right to jury trial requires that any fact which could increase a mandatory sentence
are 'element(s) of a distinct and aggravated crime’ that must be found by a jury bey-
ond a reasonable doubt." In other words, any enhancement such as drug quantity under
841 & 846, should be charged in the indictment and proved beyond a reasonable doubt.
Had I been through jury today I would not have received such a sentence because my in-
dictment did not specify any amount that was used during sentencing to qualify me a
life sentence. The law is clear that for undetermined amount of cocaine (not charged
in the indictment, not stipulated by the jury), there is no mandatory minimum permited
or term of imprisonment, and the maximum term is 20 years. §841(b)(1)(c);
(7) My wife Gloria Naranjo is incapacitated due to a spinal cord operation in Colombia
South America and cannot leave her bed and is in need of my assistance to care for her
all medical documents have been mailed directly to Mr. Crafton from South America.
-2.-
Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 4 of 29

CONTINUATION:
(see attached medical documentation).
In accordance to notice posted on December 22, 2015, on trullics for all inmates to
view on Bulletin application clearly states that under the revised policy (P.S.5050.49)
that provides specific criteria for non-medical RIS requests, which includes the fo-
llowing criteria: (The First Step Act)
° 65 years or older
° request based on non-medical circumstances in which there has been the death, or in-
capacitation of the family member caregiver of an inmate's child
° requst based on non-medical circumstances in which the spouse or registered partner
of an inmate has been incapacitated.
PROPOSED RELEASE PLAN
I have a well documented family that are well and lives in my native country Colombia.
They are unable to care for my wife 24/7 as she is supposed to be taken care of and
is the reason I need to be by her side. In actuallity my wife only got myself to be
at her side my two children are grown and live away from home and have their own lives
to live, work, etc., and cannot dedicate their time 24/7 in the care of their parents.
I will be living with my wife Gloria Naranjo at her residence located at, calle 47D
#68A19, Edificio kukalon Apt.#202, Medellin, Colombia. My wife is retired and have re-
ceived an inheritance from her deceased parents and family which will enable for our
susternance in our home Country. I also, have support (financially, moral, and emotio-
nally) from all my siblins and from my biological son and daughter who have a job and
own their own business. Also, when I return I will collect an inheritance from my de-
ceased mother, which again will allow me to support myself and my wife.
CONCLUSION
I believe that these factors coupled with my age and fact that I will be deported to
my native country Colombia, South America should warrant a reduction in sentence and
I pray that the Warden at FCC Coleman USP#II, Florida and the Director of BOP will
grant such relief in order that I may be with my wife that needs me now more than ever.

 

1]. Under 18 U.S.C. § 3584(c) “treatment of multiple sentence as an aggragate ‘:
Multiple terms of imprisonment ordered to run consecutively or concurrently shall
be treated for administrative purposes as a single, aggragate term of imprison-
ment," which means that Mr. Naranjo's sentence should be treated as one single
sentence for purposes of calculating First step act qualification.
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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 5 of 29

ATTACHMENT

MEDICAL INFORMATION REGARDING OPERATION OF GLORIA NARANJO
| |
Case 1:93-cr-00418-TFH Docume

Universidad de Antioquia

ae ute S.C.M. Sao Paulo - Brasil

 

 

 

 

Uelez Patina Registro Médico: 1314-84

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Fecha de elaboracién: 02/12/2015 Ciudad: Medellin

\dentificacién: 32485676 Causa Externa: Enfermedad general
Paciente: GLORIA MARIA ORTIZ VILLEGAS

Diagnostico: M5111 Trastorno De Disco Lumbar Y Otros. Con Radiculopatia

Entidad: Coomeva EPS SA

Detatle de formulacidn:

Paciente 66 ANOS DE quien consulta por dolor iumbar de larga evolucién irradiado a mrembro inferior izquierdo, aumenta con el ejercicio y
mejora con el reposo MUY SINTOMATICA

Paciente en aparentes buenas condiciones generales, afebril, hidratado, conciente. orentado Marcha antalgica Asimetria y descompensacion
funcional del tronco Reflejos patelar y aquiliano presentes y simétricos Lasegue positivo. No reflejos patologicos Paresia flexoextensora del
hallux Espasmo muscular paravertebral lumbar. Dolor a la palpacion de region lumbar Resto del examen fisico clinicamente normal

RM PROTRUSION DISCAL Y CANAL LUMBAR ESTRECHO L4L5 ESTENOSIS FORAMINAL IZQUIERDA
MANEJO QUIRURGICOO LAMINECTOMIA DESCOMPRESIVA L4 L5 Y MICRODICECTOMIA L4L5 IZQUIERDA

CTA  INCAPACITADA DURANTE 6 MESES PARA ACTIVIDAD FISICA Y DEPORTES

  

S TOMELEZ PATINO
CC 70083684 - RM. 131484

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CRO TR: SIS SRREHE algared teace dt iSMalérgica a uno de estos medicamentos suspéndalo inmediatamente y aviségna 1 de 2

Saludanial @email.cam / Calle? * 39 - 10? menicAt - Cons, 1405 / Tel: 5? (4 yn e435

Jorge Augusto Ueto ke emer

, per S.C.M. Sao Paulo - Brasil
Uelez Patino Registro Medico 1374-84

HE elton CH PCat Em OT apse eae) ee

 

Fecha y hora de elaboracion: 23/11/2015 11:07:01 AM Ciudad: Medellin

Tipo de Atencién: Erfermedad General
Paciente: GLORIAMéRIA ORTIZ VILLEGAS
Identificacion: 32485 76
Diagnostico: M511|~
Entidad: Coomeva | PS SA.
Detalle de la incapacidad:

astorno De Disco Lumbar Y Otros, Con Radic ulopatla

; . . : 41/19 hasta el 2015/12/22
El paciente fue incapaci:ado por un periodo de 33 treinta y tres Dia(s) a partir de ta fecha 2015/1 Ng ‘ apm

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CC 70083684 - RV
ORTOPEDIA

NOTA: Si presenta alguna reaccion alérgica a uno de estos ‘medicamentos suspendalo inmediatamente y aviseme ;

 

Saludanial @gmail com / Calle? * 30 - 10? MEDICAL- Cons. 1405 / Tel: 5? (4) 44B P4395
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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 7 of 29

 

 

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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 8 of 29

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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 9 of 29

SOLICITUD Y JUSTIFICACION DEL MEDICO TRATANTE DEL USO DE MEDICAMENTOS NO POS

 

Nombres y apellidos del Pacientes Tipo y numero de Identificacién

 

 

CC 32485676

 

 

Gloria Maria Ortiz Villegas

 

Medicamento NO POS solicitado:

 

 

 

 

Principio Activo (nombre Genérico): Concentracién, forma farmacéutica | Dosis / Dia Dias Tratamiento
1 gota cada
OLOPATADINA 0.2%, SLN OFTALMICA 24 horas en 90 dias
ambos ojos

 

 

 

 

Medicamento POS que sustituye o reemplaza con el medicamentos NO POS solicitado (Debe ser del mismo grupo

terapéutico y colocar las dosis dia/tratamiento equivalente al tratamiento POS solicitado)

 

 

 

Principio Activo (nombre Genérico): Concentracion, forma farmacéutica | Dosis / Dia Dias Tratamiento
1 gota cada
CROMOGLICATO DE SODIO 4% SLN OFTALMICA 6 horas en 90 dias
ambos ojos

 

 

 

 

 

 

Justificacion del médico tratante:

Fecha de la solicitud: 04 de febrero de 2015 Tratamiento: Ambulatorio__X__ Hospitalario_

Diagnostico: CONJUNTIVITIS ALERGICA  CIE10: H109

Descripcion del Caso Clinico: PACIENTE CON CONJUNTIVITIS ALERGICA SEVERA REQUIERE TRATAMIENTO CON
ANTIALERGICO DE ACCION DUAL

Justificacién para el uso de medicamento NO POS:

PACIENTE QUE REQUIERE CONTROL DE INFLAMACION CRONICA DE LA SUPERFICIE OCULAR SECUNDARIA A
REACCION ALERGICA

Efecto deseado con el tratamiento NO POS solicitado: DISMINUIR LA _INFLAMACION Y EVITAR SECUELAS
VISUALES PERMANENTES

Medicamentos POS Utilizados:

 

 

 

 

 

1 Principio Activo (nombre Genérico) Concentracién, forma farmacéutica Dosis / Dia Dias Tratamiento
NO HAY
2 Principio Activo (nombre Genérico)’ Concentracién, forma farmacéutica Dosis / Dia Dias Tratamiento

 

 

 

 

 

 

Respuesta clinica y paraclinica alcanzada con medicamento del POS: NO APLICA

Reacciones adversas 0 intolerancia a los medicamentos del POS (soportados en la historia Clinica):
Si__No_X Cuales:

 

Contraindicaciones expresas sin alternativa de medicamento POS (soportados en la historia Clinica):
Si No_X_ Cuales

 

Nombre Medico Tratante_ DRA. CATALINA CHICA GOMEZ RM: 54528-09

FIRMA MEDICO TRATANTE ns

 
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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 10 of 29

SOLICITUD Y JUSTIFICACION DEL MEDICO TRATANTE DEL USO DE MEDICAMENTOS NO POS

 

Nombres y apellidos del Pacientes

Tipo y numero de !dentificacion

 

Gloria Maria Ortiz Villegas

 

CC 32485676

 

Medicamento NO POS solicitado:

 

Principio Activo (nombre Genénco):

Concentracién, forma farmacéutica | Dosis / Dia

Dias Tratamiento

 

 

CARBOXIMETILCELULOSA 1%

 

 

1 gota cada
1%, SLN OFTALMICA 4 horas en 90 dias
ambos ojos

 

 

Medicamento POS que sustituye o reemplaza con el medicamentos NO POS solicitado (Debe ser del mismo grupo

terapéutico y colocar las dosis dia/tratamiento equivalente al tratamiento POS solicitado)

 

Principio Activo (nombre Genérico):

Concentracidn, forma farmacéutica | Dosis / Dia

Dias Tratamiento

 

 

NO EXISTE HOMOLOGO

 

 

 

 

 

Justificacion del médico tratante:

Fecha de la solicitud: 04 de febrero de 2015 Tratamiento: Ambulatorio___X__ Hospitalario
Diagnostico: OJO SECO CIE10: H048
Descripcién del Caso Clinico: PACIENTE CON OJO SECO SINTOMATICO, REQUIERE TRATAMIENTO CON

LUBRICANTE

 

Justificacion para el uso de medicamento NO POS:

PACIENTE QUE REQUIERE LUBRICACION DE LA SUPERFICIE OCULAR PARA EVITAR LA FORMACION DE
ULCERAS POSTERIORES CON ALTERACION DE LA VISION
Efecto deseado con el tratamiento NO POS solicitado LUBRICACION

Medicamentos POS Utilizados:

 

 

 

1, Principio Activo (nombre Genérico): Concentracion, forma farmacéutica Dosis / Dia Dias Tratamiento
NO HAY
2. Principio Activo (nombre Genérico). Concentracion, forma farmacéutica Dosis / Dia Dias Tratamiento

 

 

 

 

 

 

Respuesta clinica y paraclinica alcanzada con medicamento del POS:

Reacciones adversas 0 intolerancia a los medicamentos del POS (soportados en la historia Clinica):

S1__No_X Cuales-

 

Contraindicaciones expresas sin alternativa de medicamento POS (soportados en Ia historia Clinica):

Si —No_X___Cuales:

 

Nombre Medico Tratante_DRA. CATALINA CHICA GOMEZ_RM: 54528-09

FIRMA MEDICO TRATANTE

  

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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 11 of 29

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Historia Clinica
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FT-AC-09-01-Agosto 30 2006
Case 1:93-cr-00418-TFH

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109322323
Cedula Ciudadania

32485676

Gloria Maria Ortiz Villegas
65 Afios (12-09-1949)
Femenino

Casado

Ama De Casa

Cll47D n 68A 19 Apto 202 Edificto
Kucalon

5806047
Medellin

Unidad Basica Belen

General

Centro de atencién:

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Especialidad dei Médico:

Registro del Profesional
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Historia general:

Estado:

Cita asociada:

Nombre cotizante:
Telefono cotizante:
Parentesco cotizante;
Nombre acompajfiante:
Telefono acompafante:
Nombre dei responsable:
Telefono del responsable:

Parentesco con el
responsable:

Procedencia:

Cuestionarios

 

Document 626-2 Filed 06/10/19 Page 13 of 29

Pagina | de 2

Coomeva Eps Integrados Ips Ltda Sede
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Catalina Chica Gomez
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Enfermedad Genera!
Consulta De Seguimiento
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Carlos Eduardo Naranjo Ortiz
5806047

Madre

Carlos Eduardo Naranjo Ortiz
5806047

Madre

Medellin

ANAMNESIS

Causa de Consulta

Examen Fisico

Consulta de Seguimiento

Remitida por optometria

P: Asma Qx: Colecistectomia.
Antecedentes Personales Reseccion quiste ovario.

Alergias: Sulfas

AV. CC OD: 20/20 OS: 20/20 BIO:
Quiste de 1/3 interno de parpado
inferior de ojo 1zquierdo.
Conjuntiva con reaccion folicuiar,

Ojos Anormal cornea clara sin tincion con BUT

Plan de manejo

corto, CA VH: 3, cristalino sin
opacidad. PIO: 10/10 FO: AO: N
optico rosado exc: 0.3, macul
asana.

Conducta(s) Paciente con 0J0 Seco y

conjuntivitis alergica, ordeno tto
con Carboximetilceluiosa 1% cada 4
horas y olopatadina 0.2% en las
mafianas en ambos ojos. Presenta
ademas tumor benigno de Parpado
inferior de ojo 1zquierdo, se da
orden para reseccion + sutura de
parpado. Se explican los niesgos
tales como infeccion, cicatriz

Enfermedad Actual

Antecedentes Familiares

Pactente de 65 afios de edad,
residente en Florida Nueva, ama de
casa, traductora y profesora de
ingles. Evaluada por optometra
quien encuentra leston quistica en
parpado inferior de 030 izquierdo.
Tiene diagnostico de ojo seco y
conjuntivitis alergica tto con
Freegen 3-4 veces al dia y
cromoglicato de sodio. Refiere que
a pesar de esto presenta prurito y
secrecion ocular,

Refractivos

QNAINNINALVE
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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 14 of 29
Pagina 2 de 2

visible, retraccion de! parpado,
recidiva o necesidad de
reintervencion.

Diagnosticos

Cédigo} Tipo diagnéstico Diagndéstico Contingencia Origen{ Analisis
D231 {Confirmado Nuevo Tumor Benigno De La Piel Del Parpado Incluida La Comisura Palpebrall Enfermedad General

 

 

 

HO48 = jConfirmado Repetido fOtros Trastornos Especificados De} Aparato Lagrimal Enfermedad General

 

 

 

 

 

 

 

H109 {Confirmado Repetido }Conjuntivitis No Especificada Enfermedad General

 

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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 16 of 29

 

 

 

Serene trenmrenienenn wee Historia ne = e ;
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DESCRIPCION OPERATORIA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ID E- N
Ambutatorio Hospitalario Tipo de procedinnenta a7 FINAL'2AD DE a eee IMIENTO

Fecha de Procedimiento ‘ a Tarapeultico

: Electivo 1 Electivo 1 cruento 03 Proteccién especifica

QO . 04 Deleccion temprana de enfermedad general
) 4
Ag a> OAS Urgente Urgente 2 incruento 05 {| Detecei29 temprana de enfermedad Profesional

hora de entrada quiréfano [|] | hora inicio anestesia [Ty] [1] hora Salida quirG.ano (1 ] (||

HH MM HH MM

hora inicio procedimiento ({ | (Tl hora final anestesia (|| [[}

HH MM HH MM

HH MM

fora final proced:miento [LT } fT]

HH MM

Anestesidlogo.. Anestesia: Gral: [_ | Epia:| | Raq: [| Local: 5 Reg: [|

Cirujano: atolia Cus Ayudante:

 

Nucleo Adscripcion: Sil_| No [

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Herida: Limpia [| Contaminada [| Limpia Contaminada|_| Sucia [| ;
CODIG

Diagndstico Preoperatorio lo WERT OD pods © > C.LE-70 Peal
Diagnéstico Principal (Postoperatorio) =e UW v1 E-10 1
Diagnéstico Relacionado (Postoperatorio) DIE-7O
Diagnéstico Relacionado (Postoperatorio) CLE-10 |
Diagnostico Relacionado (Postoperatorio) - CLE-10 |
Complicaciones Quirtrgicas (si las hubo) c LE-10|
Reintervencion (causas)

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HALLAZGOS

 

 

 

 

 

 

FT-GMD-66-01 MARZO 2011
Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 17 of 29

 

 

 

 

 

 

Descripcién Operatoria
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Nombre y apellidos legibies de! Médico Cirujano Firma, Sello, Numero de Registro
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‘|
Case 1:93-cr-00418-TFH

Genera!

109322323
Cedula Ciudadania

Numero historia: Centro de atencién:

Tipo documento:
Tipo afiliado:

Prestador:
Especialidad dei Médico:

Numero

32485676
documento:

Nombre completo: Gloria Maria Ortiz Villegas

 

Edad: 65 Afios (12-09-1949) Registro del Profesional

Sexo: Femenino Médico:

Estado civil: Casado Fecha de apertura:

Ocupacién: Ama De Casa Fecha de cierre:

Direccién: Cl 47D n 68A 19 Apto 202 Edificio Duracién (minutos):

Kucalon Finalidad:

Telefono: 5806047 ' Causa externa:

Ciudad: Medellin Historia general:

IPS médica Unidad Basica Belen Estado:

asignada: Cita asociada:
Nombre cotizante:
Telefono cotizante:
Parentesco cotizante:
Nombre acompafante:
Telefono acompafiante:
Nombre del responsable:
Telefono del responsable:
Parentesco con el
responsable:
Procedencia:

Cuestionarios
Consulta de Seguimiento
ANAMNESIS

' Causa de Consulta i Remitida por optometria

4 Pp: Asma Qx: Colecistectomia.
i ' antecedentes Personales|Reseccion quiste ovario.
‘ - | Alergias: Sulfas

1

 

Enfermedad Actual

Document 626-2 Filed 06/10/19 Page 18 of 29

Pagina | de 2

Coomeva Eps Integrados ips Ltda Sede
Robledo

Beneficiarto
Catalina Chica Gomez
Oftalmologia

5452809

04-02-2015 08:49:11 AM
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No Aplica

Enfermedad General
Consulta De Seguimiento
Cerrada

140312239

Carios Eduardo Naranjo Oruz
5806047

Madre

Carlos Eduardo Naranjo Ortiz
5806047

Madre

Medellin

‘Paciente de 65 afios de edad,

jresidente en Florida Nueva, ama de
Casa, traductora y profesora de !
‘ingles. Evaluada por optometra :
‘quien encuentra lesion quistica en | ;
parpado inferior de ojo izquierdo. | :
'Trene diagnostico de ojo secoy
,conjuntivitis alergica tto con
-Freegen 3-4 veces al dia y
cromoglicato de sodio. Refiere que

.@ pesar de esto presenta prurito y
secrecion ocular,

_Antecedentes Familiares Refractivos

Examen Fisico

!AV. CC OD: 20/20 OS: 20/20 BIO.
;Quiste de 1/3 interno de parpado
‘infertor de ojo izquierdo.
!Conjuntiva con reaccton folicular,
‘Ojos Anormal! jcomea clara sin tincian con BUT
Icorto, CA VH: 3, cristalino sin :
lopacidad. PIO: 10/10 FO: AO: N |
joptico rosado exc: 0.3, macul
jasana. |

Plan de manejo

|Conducta(s)}

i

Paciente con ojo seco y_ |
conjuntivitis alergica, ordeno tto |
|Con carboximetilcelulosa 1% cada 4!
;horas y olopatadina 0.2% en las |
nt | maiianas en ambos ojos. Presenta j

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| ademas tumer beniana de Parpado
jinfertor e@ ojo izquierdo, se da j
rt 10F em para reseccion + sutura de
| parpado. Se explican los riesgos
, |tales como infeccion, cicatriz

http://www.ciklos.com.co/ciklo

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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 19 of 29

Pagina 2 de 2

_wisible, retraccion del parpado,
: jrecidiva o necesidad de
;reintervencion.
: TS

Diagnosticos

 

 

 

 

 

 

 

Cédigo} Tipo diagnéstico Diagndéstico Contingencia Origen} Analisis
D231 |Confirmado Nuevo Tumor Benigno De La Piel Dei Parpado Incluida La Comisura Palpebral {Enfermedad General
HO48 = jConfirmado Repetido | Otros Trastornos Especificados Del Aparato Lagrima! Enfermedad General
H109 = [Confirmado Repetido {Conjuntivitis No Especificada Enfermedad General

 

 

 

 

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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 20 of 29

aryn0t~ Vista Prewa
Paciente: GLORIA MARIA ORTIZ DENARANJO
SFRAD N° documento: 32485676 Sexo: F Edad: 64 ANO
EPS / Aseguradora: N/A Fecha dei estudio: 2014-03-01

ESCAMOORAFA.ECOGRAF.-aNgaArA Tecnica: CONTRASTADO Extremidad: N/A
RADIOLOGIA GENERAL Y CONTRASTADA Estudio: RESONANCIA MAGNETICA DE COLUMNA LUMBOSACRA

Adicional :
TECNICA

Con magneto Superconductor supera a 1,5 T se realizaron secuencas de pulso Ti axial y
sagital (Gadolinio amp x 15 ml #1), T2 multiplanares y STIR sagital.

HALLAZGOS:

Rectificacién de fa lordosis lumbar, leve desviacié6n de convexidad izquierda de ésta y desalineamientos
vertebrales lumbares degenerativos pequefios.

Los cuerpos vertebraies lumbares son de altura normal, presentan hipersefial en las secuencias Ti y 72
que sugieren reemplazo graso de la médula Osea roja por osteopenia, ondulacion e irreguiaridau de las
laminas terminales por cambios osteocondroticos y en algunos niveles herniaciones intraesponjosas
(nodules de Schmor!). Osteofitos degenerativos. Posible vértebra transicional téraco lumbar

Deshidratacion de los discos interv

ertebrales lumbares
posible fendmeno de vacio intradiscal en éste. Y torécicos valorables de predominio L4/LS con
Estenosis: degenerativa multifactorial del canal tumbar central y lateral condicionada por abombamientos
discales difusos, hipertrofia de los ligamentos amarillos y osteoartrosis facetaria, el compromiso es mayor
central y lateral izquierdo en L4/L5 y en L2/L3 lateral derecho por hernia discal protruida al
neuroforamen que puede estar comprimiendo la raiz L2 dentro de foramen.

En LS/S1 desgarro anulo ligamentano y pequefia hernia discal i i
protruida posterior par.
proxima a la raiz Si derecha emergente. P Or Paracentral derecha

Moderada osteoartrosis facetaria lumbar. Posibles quistes perirradiculares bilaterales en la unidn téraco
lumbar y lumbosacra, El cono medular es de didmetro, posicién e intensidad sefial normal, se ubica la

altura de L1.
No identifiqué realces medulares, meningeos, radiculares ni vasculares anormales.

CONCLUSION:
Deshidratacién de los discos intervertebrales de predominio L4/L5, estenosis degenerativa multifactorial
del canal lumbar de predominto central y lateral izquierda en L4/L5 y en L2/t3 lateral derecho por hernia

discal protruida foraminal.
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/ / /

Dr. ADRIANA LUCIA PAJON CEBALLOS
NEURORADIOLOGIA

Reg. Medico : 51007
UNIVERSIDAD DE ANTIOQUIA

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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 21 of 29

CSERADD

ESCANOGRAFIA - ECOGRAFIA - MAMOGRAFIA
RADIOLOGIA GENERAL Y CONTRASTADA DR. CARLOS MARIO GONZALEZ V.

Medellin, Diciembre 26 de 2013

Referencias:

GLORIA MARIA ORTIZ VILLEGAS (64)
CC. 32.485.676

Examen No. 535.068 Coomeva

Radiografia de columna lumbosacra

Estimado(a) Doctor(a):

Hay seis vértebras de configuracién lumbar por la presencia de vértebra transicional dorsolumbar lo
que es variante anatomica.

En los cuerpos vertebrales y en los elementos veitebrales posteriores no hay lesiones traumaticas,
tumorales ni infecciosas

No hay escoliosis, espondilolisis ni espondilolistesis.

Encuerire pinzamiento de los espaciss intervertetsales L2 -- LO, L2@-L4yLl4—-Ls Hay ademas
esclerosis de los platillos vertebrales y formacién de osteofitos. Son cambios de osteocondrosis
intervertebral. Si hay sospecha de hernia se ameritan otros estudios. Los demas espacios
intervertebrales tienen amplitud normal.

Los agujeros de conjuncién tienen amplitud normal.
Las articulaciones facetarias y sacroiliacas son normales.

En los tejidos blandos no hay masas. Se ven ateromas calcificados en ta aorta por aterosclerosis.
Hay clips metalicos en hipocondrio derecho por antacedente quirurgico.

En las demas estructuras 6seas evaluables no encuentro lesiones.

bra

CONCLUSION: Osteocondrosis intervertebral en los espacios L2 - L3, L3- L4 y L4 -L5. Verte
transicional dorsolumbar. Aterosclerosis. Antecedente quirurgico en hipocondrio derecho.

Muchas gracias,

SM 7

CARLOS MARIO GONZALEZ VASQUEZ
Médico Radidlogo

LAVCH

 

 

 

 

Carrera 80 Nro. 83-59 (Prado Centro) PBX: 444 22 86 Medellin, Colombia.
SERAO SAS.
} odo

Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 22 of 29

Numero historia:
Tipo documento:
Numero documenta:
Nombre completo:

99227965

Cedula Cudadania
32485676

Gloria Maria Ortiz De Naranjo
64 Afos (12-09-1949)

Edad:
Sexo: Femenino
Estado civil: Casado
Ocupaci6n: Ama De Casa
Ci 47D mn 6B8A 19 Apto 202 Edificio
Direcctén Kucaion
Tetetono: 5806047
Cludad: Medellin
IPS médica
Unicac Basica De Atencion rm
asignada: cion Bele

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General

Centro de atencién:
Tipo afiliado:
Prestador:

Fecha de apertura:
Fecha de cierre:
Ouractén (minutos):
Finalidad:

Causa externa:

Historia general:

Estado:

CRa asociada:

Nombre cotizante:
Teietono cotizante:
Parentesco cotizante:
Nombre acompafente:
Telefono acompaiiante:
Nombre de! responsable:

Telefono de responsable:

Parentesco con el
responsable:

Procedencia:

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Situacion Actual

Causa de Consutta

Motivo de Consulta dolro de la espalga

Enfermedad Actual

Unidad Basia De 4tencen Belen
Beneficiaric

Juan Carlos Hernandez Hincapie
11-03 2014 12 59°57 PM
11-03 2014 13.52.12 9M

52

No Aplca

Enfermedad General

Histona Clinca General {ver
Formate}

Cerrada

127838690

Carios Eduarde Naranjo Ortiz
5806047

Madre

sola

00

Carlos Eduardo Naranj> Ort:

5806047

Madre
Medeliin

tel 5806047 - no refiere otro.
Pacente que hace 3 dias wego de
reakzar actividades en la casa,

inicia dolor en region lumoar
incapacitante para realizar
actividades como sentarse, caminar,
Dor !o que acude a consulta donde
eS evaiuada y remitia a ortopedia
donde le sokctan resonanca
donde le halla rectificacion de
iordosis lumbar. leve desviacor. de
convecidad izquterda de esta y
almeamento vertebral lumbar
degenerativos pequefios ios cuerros
vertebrales lumbares son de aitucs
normal presenta hiperseai er jas
secuencia tl y t2 que sugiere e!
reempiazo graso de la medula osea
rOj8 por osteopenia, ondulacion e
rrequiardad de las lammas
terminanels per cambio
ostocondrotices y en algunos
niveles herniacones intraesponjosa

(nodules de Schmul} osteofitos
degeneratives posbie vertebra

transicional torace lumbar.
deshidratacion de ios discos
vertebraies tumbares y otraccos
valoras! de predominoa i4-i5 con
fenomeno posible de vacion
intradiscala estenosis
degenerativa muttifactorial det can
tumbar central y laterat
conidionada por abombamiertos
discales difusos hipertrofia de los
ligamenteos amariio y
osteoartrosis facetaria, el
compromisos es mayor central y
fateral izquiedo en 4-IS y en

VE ATIAPEAL Sda
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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 23 of 29

http: www.ciklos.com.co‘ciklos‘php’vista/atencionimprimirHisto

se recommenda bajar de pesc.
FISIOTERAPIA paciente

Que debe continvar manejo con
ortopedw porque a la RM se haila
‘ios cuerpos vertebraies tumbares
son de attura normal presenta
hiperseal en las secuencia ti y {2
que sugiere e! reemplazo graso de
ia medula oSea roja por osteopenia,
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intradiscala. estenosis
degenerativa multffactonai dei can
lumbar centrai y lateral
conwionada por abombamientos
Oiscates difusos nipertrofia de los
figamenteos amaritio y
ostevartrosss facetaria, el
compromnsos es mayor central y
laterai izquiedo en i4-15 y en

\2-13 lateral dereh por hernia

Oscal proturida al neuroforamen
que esta comprometiendo la raiza
deL2 dentro de foramen. en {5/s1
desgarro anulo igmanetario y pequa
hernia discal protuirda
posteriormente paracentral derech
Proxima alaras 51” Inicto

manejo para ta osteopenia
moderada se da recomendaciones
como “Ejercicio fisice. Hay
suficente evidencia cientifica

sobre fa eficacia del ejercicio en

el alivio del dolor, mejoria
subjetiva global del pacente y
mejoria de parametros funcionales
en los pacientes con OSTEOPENIA. La
précta del ejercicio deberia ser
constante 0, al menos, 3 dias por
semana, durante no menos de 20 6 30
minutos en cada sesién. Se debe
evitar la sobrecarga articular,
elminando fuertes y repetidos
impactos sobre tas articulaciones
dafladas, a fin de preservarias de
un posible desgaste adicional por
sobreuso. Debemos recomendar ia
préctica regular de ejercicio suave
y adaptado a las diferentes
condiciones del paciente, como una
indicacién mas de su

tratamiento”. Solicito 5

sesiones de fistoterapia.

Preguntas sin cuestionario

Datos Generales

Edad de ests historia 64 Dia fecha nacimienta 12
Mes fecha nacimiento 09 Afio fecha nacimienta 1949
Dia de Ingreso 11 Mes de Ingreso 03
Afio de Ingreso 20)4

Antecedentes Parsonales

Especifique Colecstectc ma, Momectoma

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ORDEN DE SERVICIO

 

 

 

 

 

 

 

 

 

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CUOTA MODERADORA §
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FT - GMD - 35-01 SEPT 2005
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BELLO: CALLE «6 N° 4
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3-146P7YP4 PBX 44463 10 OPC?
CALLE 37 N° 54-49 POM: tae ug 1G OPTS
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Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 25 of 29
http://www ciklos.com.co‘ciklos, php’ vista‘atencton/imprimirHistoria(

Cocinar Con Lefia - No

Consume Tranquilzantez? No

Factores de riesgo Biosicosocial

Intento De Surcidio No
Mattrato Fisico No
Maltrato Psicologico No
Abuso Sexual No
Se Slente Aceptado? Si

Presenta Aigun Trastorno Alimentario? no
Sexualdad y planificaciin familar

Enfermedad De Transmision Sexual yo

Metodo De Planificacion Familiar No

Revision por Sistemas
Signos generales

Pérdida Oe Apetito O Fatiga Relacionada Con Pérdida De Peso En Los Ultimos Tres Meses Y Por Causa Desconocida? N
° io

Sudoracién Nocturna importante, Sin Causa Aparente.

No
Respiratorio
Ha Presentado Tos? nyo

Examen Fisico

Signos vitales

Peso (Kg) 62
Talla (M) 1.58
Ime (%) 24 84

Area De Superficie Corporal 571
Frecuencia Cardiaca 78
P.A.S Sentado Brazo Derecho 120
P.A.D Sentado Brazo Derecho 80
Presion Arterial Media 93 33

Vacunacion

Vacunacion

Observaciones generales
!COMPELTAS SIN CARNET
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Dx y Cx
Diagnéstico

Conducta
Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 26 of 29

 

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IGLORIA MARIA
TEC 32485676
(3228451
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[Ubicacion PS 34 CENTRO Cama | a
Servicio, PSO 4 Ce NTRO ~
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|Apellidos
[Nombre. aoe

 

     

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[Responsable _

 

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& greso P _Egreso | ]

 

___ HISTORIA CLIVICA

 

Antecedentes Alérgicos

Sulfas
HISTORIA DE EVOLUCION

TIPO DE EVOLUCION DESCRIPCION 0 OPERATORIA ESPECIALIDAD ORTOPEDA. Y TRAUMATOLOGIA UBICACION CIRUGIA CENTRO FECHA,
19/11/2015 17 22

SUBJETIVO

Cirugia Hospitalizado

Tipo de Crrugia Electiva
Reintervencion No

Tecnica Anestesica Generat

Quirofanc CENT QUIROFANO 06
Consentmeno infarmada St

Profdaxts Quirurgica St cefazolina 2 grs

ANALISIS
DESCRIPCION QUIRURGICA previa asepsia + antisepsia

 

 

 

insicion mediana posterior 5 cms
aiseccion por planos

ideatficacion de espacio I4 (5 izquierda
lamicectoma 14 15 izquierda

lamimectomia 14 15 izquieeraa

raiz 15 izquerda edematizada y equimotica
sangrado profuso de plexo epidural
hemastasia general

sutura por planos

CODIGOS ISS 01262 ¥ 01246

PROCEDIMIENTOS Explorac 1 det canal raq y faces por . Or

facectomia [en descompresion}

tumbar via p con G Sity

Recuento de Compresas Completo
Sangrado SiCanidad 100m!

PLAN

PLAN A SEGUIR HOSSPITALIZADA

JUSTIFICACION PARA QUE EL PACIENTE CONTINUE HOSPITAUIZADO HOY

CIRUJANO JORGE AUGUSTO VELEZ PATINO ESPECIALIDAD ORTOPEDIA Y TRAUIMATOLOGIA
ORDENES MEDICAS

ACTIVIDADES MEDICO DELEGADAS

19/11/2015 17 32
“Repose Relativa

SE DEBE MOVILIZAR ENEL CUARTO
EVITAR TVP

firmado Eiectronicamente Fecna Ge impresion 20/14/2015 Pagina 1/4

f Mc, Clinica Sri peas —
Dy! Medellin scion ae

fifie ve Nato

 

ORDENADO

MEDICAMENTOS

1941112015 17 30

Cetazolina Ampotta ‘gr (Kefvol) 1 GRAMO(S) INTRAVENOSO CADAG6 HORAS por 2 DIAS.
ORDENADO

19111/2015 17 30

Dipirona Sodica Ampolia tgr 1 GRAMO(S) INTRAVENOSO CADA 6 HORAS por 2 DIAS
ORDENADO

19/11/2015 17 34

Acetaminofen Tableta 500 mg 2 TABLETA(S) ORAL, CADA 6 HORAS por 2 DIAS
OROENADO

TRASLADOS

19/41/2015 17 32

Hospitahzacién Cama compatida Sede Centro

ORDENADO

Firmado por JORGE AUGUSTO VELEZPATINO ORTOPEDIA Y TRAUMATOLOGIA Reg 131484
HISTORIA DE EVOLUCION

 

 

TIPO DE EO GION EVOLUCION HOSPITALIZACION INGRESO ESPECIALIDAD MEDICINA GENERAL UBICACION PISO 41 CENTRO FECHA:
19/11/2015 22.

SUBJETIVO

INGRESO HOSPITAL!ZACION

Prowene de cirugia

Glona Ortiz, 66 aftos

Dx

1 POP inmedialo Laminectomia L4 - L5 12q

Pacrente refiere dolor moderado
OBJETIVO

Paciente aleia, onentada, colaboradora

FC 84FR 16 Sat 98%

Mucosas hymedas, conjuntivas rosadas

RsCsRs sin sopios MV conservado sin sobreagregados

Abd blando, no distendido, no masas

Se observa henda en region jumbar cubierta por apositos limpios

Ext sin edemas na lesiones Moviiza las extremidades sin dificutad no signos de hipoperfustén lienado capilar < 2 seg, pulsos ++
No déficit neuroiogico

ANTECEDENTES
ANTECEDENTES PERSONALES

Antecedenies patalagicos
Distpidemia
Asma

TTO

* Atorvastatina

* Pregabaling

Antecedentes quirurgicos
Colecistectoma

Reseccion firomas de ovario

 

 

Laminectoma
Antececentes alergicos
Sulfas
ANALISIS
Paciente en séptima decada de ta vida que ingress en POP lato de quierda L4-L5 Enel tranquila, estable
te, can dolor r Concitio tas de uso crénico gastroproteccian Se ajusta analgesia
Firmado Electronicamente Fecha de Impresion 20/11/2015 Pagina 2/4
Case 1:93-cr-00418-TFH Document 626-2 Filed 06/10/19 Page 27 of 29

 

Apelicos:

ORTIZ VILLEGAS

 

 
 

 

 

PLAN

sgresc “ospitalzat on

Conc iacior ge rresicamentos
Gastroprcteccior

ORDENES MEDICAS
MED'CANENTOS

13417 2015 22 45

 

Numero de id

Nombre

Servicio

Responsable

Pregapalina Capsula 75 mg | CAPSLiAIS) ORAL CADA 24 HORAS por 30 DIAS

ORDENADO
19/11,2015 22 45

  
 
 
 

GLORIA MARIA

 

  

 

CENTRE

 

 

“IEC 33485676”
1322846 —
[Femer © JEdad ing

Atorvastatna Tapleta 20mg (Lipitor-Prizer) | TABLETA(S) ORAL, CADA 24 HORAS por 30 DIAS Administrar 2 horas antes de dormir

ORDENADO
19/11:2015 22 47

Tramadol Ampaila 50mg 50 MILIGRAMO(S) INTRAVENOSO.
Tiempo infusion del diluyente
ORDENADO

19/41/2015 22 4?

CADA 8HORAS por 7 DIAS Dituida en Sodic Cloruro 0 9% x 260 mL Cantidad 250 mi

Omeprazol Capsuia 20 mg 1 CAPSULA(S} ORAL CADA 24 HORAS por 30 DIAS

ORDENACO
Firmado por PAULINA ALVAREZ ALVAREZ MEDICINA GE
HISTORIA DE EVOLUCION

NERAL Reg 5-0857-13

 

 

 

TIPO DE EVOLUCION EVOLUCION OIARIA-RONDA ESPECIALIDAD- ORTOPEDIA Y

20/11/2015 13 12
SUBJETIVO

po 1 dia laminecitoma descopmresiva |4 15
asitomaica
neuroogico normal

henda seca

eliminaciom on

Cta alla

EVOLUCION DIAGNOSTICA
DIAGNOSTICO PRINCIPAL

TRAUMATOLOGIA UBICACION PISO 41 CENTRO FECHA

 

 

NOMBRE DIAGNOSTICO

CODIGS Ox

ESTADO INICIAL

CAUSA EXTERNA

 

 

 

 

TRASTORNOS DE DISCO LUMBAR Y OTROS CON
RADICULOPATIA

 

M511

 

Confirmado

 

 

d

 

PLAN

alta

ORDENES MEDICAS
EGRESO

20/11/2015 13.18

Alta por orden medica
alla c on formula
ORDENADO

ORDENES MEDICAS EXTERNAS
MEDICAMENTOS

Firmado Electranicamente Fecha de Impresian

20/11/2075

Pagina 3.4

[ Mf Ciinica
JjJ Mede

20/5 172015 13.14

 

de id:
Numero de 1

llin 2 =

tay thud

Cefalexina Caosuia $00 mg « CAPSULA(S) ORAL CADA 6 HORAS por 8 DIAS

ORDENADO
20/41/20°5 13.15

Acetamimofen Tapleta SCO mg 2 “ABLETA(S) ORAL, CADA 6 HORAS por 5 DIAS

ORDENADO

Fumado por JORGE AUGUSTO VELEZ PATINO ORTOPEDIA Y TRAUMATOLOGIA Reg 131484

Firmado Electrénicamente

Fecha de impresion 20/11/2015

 

Pagina 4/4
Case 1:93-cr-00418-TFH

Probiemas De Tiroides
Cancer

Transtornos De Vision
Enferm. Mental
Hematologicos
Tuberculosis

Enferm. Neurologica

Enferm. Infecciosa

Document 626-2 Filed 06/10/19 Page 28 of 29

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i ‘Ninguno

 

oe

[ Ninguno

[ hinguno
{ Nnguno
(ringuno.
Tinguno.

| Ninguno

{ Ninguno

Muerte Por Infarto Agudo Dei Miocardio En Menores De 65 Afios | Ninguno

Asma
Otras Pato logias

Lepra

Observaciones generaies

Pringuno.
rapes
} Ninguno

No

{ABUELA CANCER NO DETERMINADO

Ocupacionasates

Jornada Laboral?

Observaciones generales

{AMA DE CASA, Y DOCENTE DE INGLES, CASADA CON 2
{HBOS,CATOLICA, ZURDA, RESIDENTE EN FLORIDA NUEVA, CONVIVE
:CON BDO, NO TIENE MASCOTAS EN CASA

Factores de Riesgo
Factores Protectores

Ejercicio

Tiempo Que Detiica A La Actividad ( Horas) 1

Cuantas veces a ia semana

Que tipo de ejercicio?

fa! Si

—~
| Dinamico

Consume aiguno de estos alimentos mas de 4 veces en la semana?

Frutas

Verduras

Realiza Actividades Recreativas

Factores de riesgo

Consumo Oe Lor? No
Fuma? No
Fue Fumador? No

Consume Sustancias Sicoactivas yo

Fumador Pasivo No

No

PAVE IAATE ANE
{
Case 1:93-cr-00418-TFH

. Quirurgicos
Especifique Colecrstectornia Miom

Transpiantes
Hospitalarios

Traumas

Toxicos

Transfusiones
Consume Medicamentos
Enfermedad Psiqviatrica
Enfermedad Neurologica

Depresion

Observaciones generales

Document 626-2 Filed 06/10/19 Page 29 of 29

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Si

No

No

No
No
No
No

No

 

i* PATOLOGICOS: CONJUNTIVITIS ALERGICA EN AMENJO CON
iCROMOGLICATO OFTALMICO AL 4% OSTEOPENIA EN MANEJO CON
‘CALCIO , ASMA, DOLOR LUMBAR POR RADICULOPATIA

* QUIRURGICOS: COLESCITECTOMIA , MIOMECTOMIA

'* ALERGICOS: SULFAS LE PRODUCE BROT € EN PIEL

is TOXICOS: NEGATIVOS
:* NO COCINO CON LENA

Antecedentes GinecolA' gicos y ObstA@tricos

Se Ha Realizado La Citologia?
Se Ha Realizado La Mamografia
Afio Ultima Mamografia 2013

Menopausia

Observaciones generales

No

Si

 

‘MAYO MAMOGRAFIA NO COMPARATIVA PUES NO LLEVO LAS
‘ANTERIORES:: ASIMETRIA POR MAYOR TEJIDO GLANDULAR EN CSE
IDERCHO , NO S EIDENTIFICAN LESIONE S SOSPECHOSAS.

iMENARCA 12 ANOS

ICTTOLOGIA 30/01/15 MUESTRA SATISFACTORIA NEGATIVA PARA

'MALIGNIDAD

Antecedentes Famifares

Hipertension

Enfermedad Cerebro Vascular
Diabetes

Obesidad

Dislipidemia

Enfermedad Coronana
Nefropatia

Enfermedad Renal Cronica
Infarto Del Miocardio

' ter Gredo
| Ninguno

r ler Grado

 

| Ninguno
ore nati
3 Ninguno
[ Ninguno

Ninguno

 

| Ninguno

| Ninguno

 
